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1                      Andrea K. George
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3                      Attorneys for the Defendant

4
                          UNITED STATES DISTRICT COURT
5                        EASTERN DISTRICT OF WASHINGTON
                         The Honorable ROSANNA M. PETERSON
6

7    United States of America,                                      No. 2:19-CR-49-RMP

8                      Plaintiff,
        v.                                                          Motion for Release
9

10   Jaydin Ledford,                                                April 5, 2019 at 6:30 p.m.
                                                                    Without oral argument
11                     Defendant.

12

13           Jaydin Ledford moves this Court for his release. He has both a mental health

14   and housing plan. He will obtain mental health support at the Okanogan Behavioral
15
     Healthcare System in Omak, Washington. If released prior to May 1, he will maintain his
16
     housing voucher through the Housing Authority of Okanogan County, also in Omak.
17
             Erik Hendrikson, MSW, social worker with the Federal Defenders will work
18

19   with both agencies to coordinate Mr. Ledford’s support system and continuation of care.

20           Mental Health Treatment – on April 2, 2019, Mr. Hendrikson spoke with

21   Human Resource Director Jessica Blake at Okanogan Behavior Healthcare (OBH). She is
22

23

24   Motion for Release

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1    very familiar with his case and their team is very committed to his success. They are
2
     eager to get him involved with services and programming.
3
              Housing Services – on March 29, 2019, Mr. Hendrikson spoke with Executive
4
     director Nancy Nash-Mendez, of the Housing Authority of Okanogan County. He has a
5
     housing voucher and housing. However, if he is not physically moved back into his unit
6

7    or does not voluntary surrender his housing voucher (a formal “in-person” process) he

8    will be faced with an eviction and will be ineligible for housing assistance for no less than
9
     36 months. Like Ms. Blake, Ms. Nash-Mendez is very familiar with Mr. Ledford’s case,
10
     is very supportive and is willing to do all that they can to help him.
11
              Other Special Conditions – GPS monitoring and no internet access.
12

13

14            AUSA Patrick Cashman is considering this motion. Counsel left a message for

15   P.O. Cassie Lerch.
16
     Dated: April 04, 2019
17
                                                Respectfully Submitted,
18
                                                S/Andrea K. George
19                                              Andrea K. George, MN 202125
                                                Attorneys for Ledford
20
                                                Federal Defenders of
21                                              Eastern Washington and Idaho
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24   Motion for Release

                                                  2
       Case 2:19-cr-00049-RMP   ECF No. 27    filed 04/04/19   PageID.74 Page 3 of 4


1                                            Email: Andrea_George@fd.org
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1                              CERTIFICATE OF SERVICE
2         I hereby certify that on April 04, 2019, I electronically filed the foregoing with
3
     the Clerk of the Court using the CM/ECF System which will send notification of such
4
     filing to the following: Patrick Cashman, Assistant United States Attorney.
5
                                               S/Andrea K. George
6                                              Andrea K. George, MN 202125
                                               Attorneys for Ledford
7
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24   Motion for Release

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